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EXHIBIT 1

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Q :

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. ' OS-29-2005 @ OFSSia

 

CALIFORNIA 92780

eT TOAGE CORPORATION
15943 REDHILL AVENUE SUITE #100
TUSTIN,
Loan Number; 06¢0520008

 

S700GHTOA)

Ree pared By : RTP Highistas ke:
Optima mer cage Bor f i anaGartmental Te Cor
“te Tampa ile
Tustin ;Q4 42760 EPL OPE TR

[Spsce Abave This Lina For Racorsing Date]

959/07 aor
MORTGAGE 2 el 2 b¢ 20

 

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MIN: 1002547-0640520008-3
DEFINITIONS

Words used in multiple seciicns of this docuroent are delined below and other wards ase defined ta Sections 3, 12,
13, 18, 20 end 21. Certain reles regarding the tuage of words ised in his document are elso provided tn Section 18.

“@ *Seeusity Instrument” moons this docament, which is dated JUNE 22, 2004 » Cogether
wih all Riders to dis document.
@) “Borrower” is PAUL SONES ft unnarriend person

FIO ~4¢ 2.
Boerower ix the maontgugore under this Security Instramest.

572 PARK S

(C)  "MERS* ts Mortgnge Electronic Registration _ Tec, MERS ts a separste corporation that is actlag
solely as a pemtore for Lender end Lender's sucosssors and MERS Is the moxtgages under fils Security
Enstrumant. MERS 1s urganieed andl existing under the Laws of and bap-an address and telephone cumiber

of P.O, Box 2026, Flint, ME 48501-2028, tel. (888) 679-MERS.
(D) "Lender" SOPTIMA MORTGAGE CORPORATIO!

Lester isa CALIFORNIA CORPORATION organized
and existing undor the laws of CALIFORNIA :
Lan’ fest 16941 REDHILL AVENUS SUITS #100, TUSTIN, CALIFORNIA

9

@ "Note" greaus the prontissory note signed by Borrower and dated TONE 22, 2004 .
‘Thy Note states that Boarawer owes Lender SHO HUNDRED SEVENTY-FOUR THOUSAND FIVE
HUNDRED FIFTY AND 00/100 Dolls (U.S. $274,550.00 ) plas interest.
Besrower hes prema to pay this debt in regular Perlodic Payenents and to pay the debt ix full wot later than
JULY 1, 2034 ‘

®) >property” sitans dhe property the! Is described below under the heating “Transfer of Rights in the Property.”
{G) “Lous” rrens the debt evidenced by the Note, ples iaterest, any prapayment Changes and Inte charges dus ander
cha Note, and ell sums dae under this Securlly Instrumest, ples interest.

 

 

 

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om CRAiders™ rsare all Riders to this Security instrument! that are executed by Borrower. “Fhe following Riders
aye to be executed by Bocrower [check box us applicsble|:

Adjusteblo Rats Rider (0 Condonintum Rider 17) Second Home Rider
[1 Balloon Rider C1 Planned Usit Development Rider Otierts) spect]
O 1-4 Family Rider Q Biweekly Payment Rider QO SECURTTY INST

* Law" ali i foveral, state ail localetetates, regulations, ontinences and
OF tories rules Se tees ote) as well es afl applieshls final, non-appealable judicial
a “Cocamunity Assoctation Dues, Fens, and Assessments” moaus oll dass, fees, assesemens and atber charges
that are imposed on Borrower of the Property by a cocdomingum asvoctzfton, homeowners astoclaiion or similar

wire transfers, aad transfers,
&) Beceove Eseras” means those Heme that are described in Secilon 8.
Procests™ awart of by
(other than inswrence proceeds under the described fa Sectlon 5) for: (9 damage to, or
dastrection of, the + QO condemnation or other tsking of all or any part of tin ; Gil) conveyance in
flea oF condemnation; or of, or omisaions as (o, the and/or of the Property.

" Mortgage Insurance” mons insurance protecting Lemter agaiast ihe nonpayment of, or defaalt on, the Lozn.
(0) “Perlociic Fuyeesnt" meany the regularly scheduled amownt dos for 0) priccipal and iricrest under the Note,

any amounts Yostrument.

CRESPA® scans (ie Renl Bstete Settiement Procedures Act (12 U.S.C, $2801 et 309.) and fis inglementing
regniation, Regulation X @24 C.F.R, Post 3500), os hey ceight be amended from tls to Gro, or any addiiansl or
suoearzor fegistation or reguintion that governs the same xuljnct matter. As ased In this Security Instrument,
“RESPA” refers ton reqeirements and restrictions that ere Imposed in regard ton “fnterally releted mortgage loan”
even if the Loan does nol quailfy as a "Eederally related mortgage loan" under RESPA.

@ Successes tn Inierest ef Borsowes" menus any party that bas taken (tle to the Property, whether or oct that
pasty bas esonmed Borrower's obligations wader the Note and/or thts Secarify tnstrument.

TRANSFER OF RIGHTS IN THE PROPERTY

This Security Instrarszet secures to Lender: @) the repayment of the Loan, amt all renewals, exteasions and
mpodiBcations of the Note: and Gi) ibe performance of Bervower's covenants and agreements ender this Security
Instrument end the Note. Por dus purpose, Borrower does hereby mortgage, gratt and convey to MERS (solely as
nomines for Lender and Lender's successors and ass!gcs) and to the successors and assigns of MERS, with powtr of
sala, the following described property located in the
COUNTY of NORFOLK : t
[ype of Roading hertectexton| [Name of Receding

 

 
 

 

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“'~ 22224 Pg 221 #35864

SB TECRL, URECRTEREON ATTACHED HUBIETO AND WADE 2 PARE FEREOY 2G NARTEEE SO
A.P.N. #: MAP 70 MAP 42

which currently bas the eddress of 572 PARK STREET

Faereei]
STOUGHTON ,» Massachussits 02072 ("Property Address"):
(Cas ap Code}

TOGETHER WITH sil the improvements now or Rereafier erected on the property, and all ecsaments,
appertenances, and fixtires now or hereafter a part of the property. All repiacemonts and additions shell also be
covered by thle Sccarity Instrument. Ali of the foregoing ts referred to in this Security Iostrument as the "Property."
Boxrower understands end agrees Ghat MERS holds caly legal title te the tntarests granted by Rocrowrer tn Gis Scourtty
Instraroent, but, #f necessexy to comply with lew or castom, MERS (as nominee for Lender and Lender's successors
axl zavigns) bes the right to exercise any ar all of ihase tatarexts, iraf nol limited tn, the right to foreriota
and sell the Property; turd to luke any action required of Lander including, int nol Hmited tu, releasing and canceling
this Securfty Instrument,

BORROWER COVENANTS that Borrower Is lavfully selsed of the esteis bereby conveyed and bax the right
ty morigngn, grant and convey the Property am chat the Property 9 uncacambered, excepl for encembrances of
record. Borrower warrants and will defend guncrally the title to the Property against all clateas and dersands, subject
to any eacaunbrences of record.

THIS SECURITY INSTRUMENT combines uniform covenants for nattene] ute and nen-unlform covenants
‘with Limited variations by jurisdiction to constilute a unilorm security instrinment covertag real property.

UNIFORM COVENANTS. Berrower and Lender covensnt and ugree as follows:

1 Payment of Principal, Internet, Escrow Items, Prepayment Charges, snl Late Charges. Borrowes
shell pay when due tha priactpa! of, and latereat on, the debt evidenced by the Note and any prepayment charges and
Tate chaygas doe ander the Note, Borrower shall also pay funvts for Recrow Heras pursuant to Section 3. Payments
doe under the Note end this Security Instrument shalt be made fv U.S, currency. However, if any check er other
tastromou! received by Lender as under the Note er this Security Instrument {s rehomed to Lender unpetd,
Lender muy require that any or wubseqnest payments due under the Note end this Security Instrument be mats in
one or nore of the following farms, as selected bry Lender: (a) cash; (h} money order; (c) certified check, bank check,
treasurer's check or casider's check, provided any such check is drawn upon an instllutlon whose deposits are insured
by e fedoral agoncy, instrament, o> ony; ot (@} Electronic Funds Transfer.

Payments are deomed received by when received at the locaiion designaled in the Note ar at such other
location an oxay be designated by Leader in accondanes with the notice provisions in Section 19. Lender may return
any payenent of partial paymens if the payment or partial payments are insufficient te bring Gre Loan current, Lender
may eccept exy payment or parti! payment insnfiictent to being the Loan current, without waiver of any rights
herenadar or prefudlss fo its sights to rafese such payment or partial paymestts in the Tobira, but Lender is net
obligated to apply such payments ot the ime such payments are ¥ each Periodic Payment is applied as of
its ccheduled dae date, than Lender necd not pay interes! on fends. Leader may hold seach exappiied fands
until Borrower makes payment to bring the Loan curreal, If Berawer does nol do so within a reasonable period of
tine, Lendes shall ether apply such iamis or return them to Borrower. 7 mot applied exriter, sech Sands will bs
apgited to the oulstamiing principal balance under the Note immedistely prior to Zareclosure. No offsel or claim
which Borrower have now of {s the fature agains! Lender shall relicve Borrower from making payments due

ae

Borrower Tntdai: Lt

eA een LS,

Fi MaeiFredde Mars INSTRUMENT - Dochingic€Persn
aS Paes arate Sere NT - MERS SU.68-1S52

 

 

 

 
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voder ihe Note and ihts Security Enstrument or performing the covenants and agrsoments secured by this Security
instrament.

%, Application ef Payments or Proceads. Excopt as otherwise described in this Section 2, afl paymertls
aecegiel and by Lersfer shall be applied In the following order of grtarity: (a) interest due under the Note;
(i) principal doo under the Not; (¢) amounts due under Sectios 3. Such 1s shall be applied éo each Periodic

tn the order in which 11 became dus. Any amounts shall be applied first to late charges, second
to any other amounts due under this Security Instrument, than te reduce the principal balance of the Note.

f Leader recalves a paymet! ftom Borsower for 8 delinqueat Periodic Payrnont which includes a sullictent
ssooet to pay any lle charge doe, the payment may be applied to the delinquent payment and the late charge. ¥
raete the ono Payment is outstumding, Lentler may apply any payment received finm Borrower to the
cenaymscat of dhe Pesfodic Payments If, el to the extent (het, each payment can be paid in full. To the extent that
any excess exists after the paysient is applled to the ful payment of one or more Perfodic Paynoents, sach excess may
be apepiiand fo any late carpet de, Voluntary prepayments shall be applied first to aay prepayment charges ond then
a3 desesdibed .

application of payments, Inrurance procesds, of Miscellaneous Proceeds to principal dus under the Note
shall not exterd or postpone tie due date, or change the amount, of (he Periodic Payments.

$. Funds for Escrow Items. Borrower shall pay to Lender on the day Periodic Paymonts are dae ander the
Note, until the Note is patd in full, 2 sum (ihe * } to provide for payrmant of umounis das for: (9) taxes and
ansensmnents aid other items which exn attain priority over tis Security Insrument os x Tina or entuubrunce on the
Property; () euscbuld payruents oc gromsd rexts an the Property, Hf uny: (0) prembans for ony and all fnsarance
rogue by Zener unde Satna ad (ass Samra nn wb ha proviso Secon 10,
1 ta Tow of Cre pryment of Mortgage Insurance premiums tn secondance wilh the provisions of Section 10,
Those items are called “Escrow Items," Ad origination or ateny time during Ose term of the Lenn, Lecter may seqgaire
tbat Community Assoctaticn Dues, Fees, and Aswesammonti, Ifany, bo escrowad ty Borrower, and sach dues, fees and
sasansetents shall be an Escrow Tien, Bosrower ehall promptly furnish to Lender oll notices of amonnis to bs paid
ander this Sectlen. Borrower shell pay Lender the Forde for Escrow Items unless Leader waives Borrower's
obilgation to pay the Funds for any or sil Escrow Items. Lender may walve Borrower's obligation to pay to Lender
Prada for any or all Bscrow Etexss al any tina. Any such waiver may only be in writiog, In the event of such walver,
Borrower shell pay directly, when and where Mie, the amounts due for any Becrow Hems for which piyniitt of
Fonds has bese: waived by Lender end, if requires, shail furnish to Lender recelpis evidencing such payment
within such thaws period a3 Lender may require. Bosrower's obligation to nake such payments and o provide receipts
stall for olf parposes be deemed to be a covenant and agreement contained in this Security Sastrument, us the phraso
“eovenant aad agreement’ bs used in Section 8, If Borrower 1s obligated to pay Escrow Items directly, putscant to
a walvet, and Borcower fails to pay the amount dus for as: Boorow Inern, Lender may exercise lis sights under Saciton
9 and pay such amount acd Borrower shall thin be obligated under Section 9 to vepay to Leredar any sack amounl.
Lender may revoke tha welver ea to any or alt Bscrow lissns at any time by eatice given in accordance with Sectian
1S an, ape such evocation, Bocower al aye Lane a ena tn a sven at se he esi

Leader may, at any time, collect aod hold Funds in an amount (3) sufficient to pornit Lender to apply the
Funds af the time specified wader BESPA, and (0) 0: to excetd the muximam amount 2 leader can require ander
RESPA, Lender shall estimete the amount of Funds due on the basis of current date and reasonable estimates of
expenditures of future Hecrow Itess or otherwise in accordance with Appitcable Law.

Lender shall net be required to pay Borrower eny interest or exrnings on tbe Funds. Borrower and Lewes can apiece
in writing, however, the interest shall be paid on the Funds, Lender shall give to Borrower, without charge, an
enqual of the Punds as required by RESPA.

Borrower Inidals:

 

He annie MiaedFt NSTRUM .
ee Siagie Faniily-Fania TO RE a Diochtaeytt EOS BO 572

 
 

 

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If there 1s 2 surplus of Funds held in escrow, as defined under RESPA, Lender shell xxcownl to Borrower for
theexcess funds in accordance with RESPA. If there is a shovtage of Frsnds held in escrow, a8 defined onder RESPA,
Lender shall ootify Borrower as required by RESPA, sai Borrower shafl to Lonster the umount necessary to make
up the shortage in accordance with RESPA, Int fn uo enove than 12 m payments. If there is a deficiency of
Funds held in escrow, ne defined under REBPA, Lender shall notify Borrower es required hy RESPA, and Barsower
shall pay 20 Lender the amon necessary to make up the deftclency tu arcordance with RESPA, but in ao more than

12 monthly payments.
Upon payment in fol of all sums secured by this Secorky Instrument, Lender shall peamplly refond to

4, + Liens. Borruver shall pay ull taxed, savesemenis, charges, floxs, and imposiions attributable
to the Proporty which can attain prfuclty over this Secusity Instrament, lexsehold payments or ground seats on the
Property, any, aad Coammunity Association Dues, Rees, and Assessments, if any. ‘To the extent that these ftems

promptly discharges any
{40 agrees ta writtng to the payrnest of the ebligation secured the Han in a manttier goceptable to Lender, but only
go lang ax Borrower is performing suck agreament; (0) contests the Hea in good faith by, or defends against
enforcement of the ilea in, lopal proceedings which in Leader's opinton operate to prevent the enforcement of the lien
wile tose proceedings ave ponding, bul suly until such proceedings are concluded; os (6) secures from the bolder
of the Hen an agreement satisfactory to Lender subordinating the [ten to this Security Instrument if Lender
deterentnes (hat any part of the Property Is subject to a ton which can atiein prfostty over his Security Insuuraent,
Lender may give Bottower a notice identifying the fen. Within 10 days of the date oa which tha! notice is given,
Borrower shall sesisfy tho Hen or take one or more of the attions set fosth above In this Section 4.
‘Lender asiy requite Borrowes to pey’a ano-time charge for e rest extets tax veriffeation emifor reporting service
used by Lender in connection with fltis Loan.
5, Insurance. Borrower chal keep the itaprovesnents now existing or hereafter exected 2 the
Property ievurad ageinat Loxs by fire, baentds included within the term “extended coverage,” and any other Kazards
bat wot timtted £6, earthquakes and floods, Gor which Leader requices insurance, ‘This insurance shall be
samntotned fy ths uments (inclmting deductibte levels) and foy the periods that Lender requires. Whel Lender
requisss parsumnt to the gurttares can change dnring the term ef the Loan, ‘The Insurance carrier providing
thatssurancoshall be chason hy arower subject to Lender's right to disapprove Boreower's chotee, which right shall
pot bs exercised unreasonably, Leader may require Borrower to pay. In cotnection with this Loan, either: (a) 2 one-
diane charge for flood zone determination, certification and tracking tervicess or (h) a one-time charges for flood zone
detsrmabzation and cestificatlon set vices and subsequent charges each time remssppings or similar changes occur which
seasenably might affect suck determination or certification, Borrower shall also be respozsibls for the paymont of
ey os ipod by hn Potea onegonsy Mssgenest Agency i cman wih On sey fy Hel

of shall caver Lender, but might or might not protect Borrower, :
equity tn Property, or the contents of the Property, against any risk, kazerd or nnd might provide grester
or laser coverage than w2s in . Borrower acknowledges that the cost Of the insurance coverage So

obtained mightstgallicantly exceed he cast of insarance thet Borrower could bave obtained. Any amounis distarsed
by Leodar andar this Section § shall beenme additional dele of Borrower secured by this Secarity Inelramment, Thase
amounts eball beer toterest at the Note rete from the dete of disbursement and shall bo payable, with such interest,
apon noties from Lendtr to Borrower requesting payesert,

Ad insteunce policies required by Lender andl tenowals of such polictes ahall be subject to Lendss's right to
disapprove suck policies, shall inchule a standard mortgage clause, and stall same Lender 2s mortgagse and/or as an
additional inss payes, ‘Lanter shell bave the right 10 hold the policies aad renewal certificates. Tf Lander requires,
Borrower shall promptly give to Lender all receipts of paid premiums aril teewal notices. if Borrower obtains any
form of neurance coverage, nol otherwisa required by Lander, for damage to, or dextroction of, the Property, such

 

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policy shall inciads a stanitard sroctgage clause and sball name Leader as martgager and/or es an addon! loss

Inthe event of loss, Borrower shall give prompt notice fo the insarance carrier and Lender. Lender may make
proo! of lass if nat made promptly by Borrower. Uniess Lender and Borrower otherwise agree in wridng, any
irenurance whether or not the underlying insaraxce was required by Lender, shall be appliad to restorsficn
oo repair of the Property, if the restoration of repatr ts ecoaomically feastbia and Lenules’s secutity is not Inseaned.
During such cepate and restoration pariod, Lender chstl have tha right to kold such inenrance proceeds until Leider
hes had an oppurtunity to inepect such Propesty to ensure the work hes baen completed to Lender's satisfection,
provided thal such inspection shall be mudertaken prompliy. Lender way disburse provecds for the repaivs and
restoration in 8 shagle paywneet or in a series of progress payments as the work ts Completed. Uniicss an agreament
is made to willing or Applicable Lavy requizes interest to be paid on such insurance procends, Loader shall act be

to Borrower. Such insurance proceeds abel be appited in the order provided for in Section 2.

If Borrower shendons the Property, Lender omy Gle, negouate and sete any avaiisble inscrance claim and
related mstiess. Hf Borrower dex ont resgond within 30 days to @ notice from Lemier that the insurance carrier has
cifered to settle a claios, thee Lender may engotiate sunt veltle the claim, The 30-day period will begin when the
petice is giver. in etter event, or WH Leadar enquires the Property under Section 22 or otherwise, Borrower hereby
assiges to Laraier (6) Borrower's rights lo any insarane proceeds in on emoust ant to exoced the amounts enpaid
onder the Nese or this Security Lastrament, and (b) any oer of Borrower's rights (other Gum the sight to any refund
of uncamed ptertnms paid by Borrower) under all insurance policies covering the Property, insofar 2s such rights
‘ate applicable bp the covestge oF the Property, Lender may wse the insnrance proceeds liber ip repair or restose tho
Property or to pay amounts unpeld ander the Noto of this Susurily Instrument, wheihar or not thea due.

é, . Borrower shell occupy, esteblish, and use the Property 03 Borrower's principal residence
within 6D days after the execatiou of this Security Instrument and shall continue to ooctipy the Property as Borrower's
principal residence for at feast one your after the date of accupaaey, ules Lender otherwise agrees fn wailing, which
consent shall not be soreasonably withheld, or unless extennsting cireumstances exist which are beyond Borrower's
contol,

4. Peeservatisn, Malutesasce end Protection of the Property; Inspections. Borrower shall not destroy,
damage or impair ths Property, allow the Property to detexiorate or commit waste on the Property. Whether or not
Borrower is residing in the , Borrower shall mitiatain the Property in order to prevent the Property fos
detertnrating or Gecreasieg tn value due to Ns condition. Unless It is dolanmined purscant to Section 5 thut repair of
restoration is not economically feesthle, Borrower stall yepair the Property {f daroagod to avoid further
Odertoration or damage, H insutance or condewmnniion are pald in connection with damage to, oc the woking
of, dha Property, Borenwer shall be responsibie fer repairing or restosing the Property axly if Lender has releesed
geoceeds for such purposes, Vener ray dicharss proceeds fo te repas and esnnlan i 8 a ial
a sestes of progress gs Gro work is completed. Ef the insurance or condemnation proceeds are ant sufficient
to repair or rexore Property. Borrower ts aut releved of Borrower's obligation for the completion of such repair
or testorelicn,

Lender or its ageal may make reasonable entsles upon and inspections of the Proporty. If Ht hus ceasonsble
canse, Lender may Inspect the interior of the improvements on the Froptty. Lendur shall give Borrower notice at
the tes of or prior to soch an interiar inipection spe such reasonable cause.

8. Borrower's Lasn Application. Borrower shall be in default if, during the Loan application process,
Borrower ar asy persis or entities acting al the direction of Borrower or with Borrower's knowledge or consent gava
meterielty false, misleading, or Inacenrate Information or statements to Lender (er futled to provide Lender wilh

represmatations contamning Basrower's occopanty of the Property aa Borrower's printigal residence.
8. Protociion of Lender's Interest in the Property and Rights Under this Security Instrument. If (@)
Borrower fails to parfores the covennils and apreemenis contained! fn: thls Secarlty Instrument, (b) there & a lege!

a
Borrower Inittels:

aney-Fi Tadtia Nec UNIFDRN IOTORAENT -EEERS DlocMtagibaiiienas aoege
Form 3022 O1 Femhy-Feneie am Oc 18 Vasu. docmaghe con?

 
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Security ,
and securing and/or raptring the Property Lender's actions can incloda, bul aro no! Unnited to; (a) paying any sums
secured by a Hen has prievity over this Seealty Instrument; (b) appearing in court; ard (c) paying reasonable
attemseye’ fos to protect itp ieterast ia the Property and/or rights under this Security Instramert, ating
postilon in a hankruptcy proceeding, Securing the Propesiy includes, but is not Iknited to, entering the Property to
roake repairs, change locks, replace or bus’ up Goons and windows, drain water frum plpes, eltminate building or
other code vfoletions or dangeraus condiions, and have uillitizs tuned on or aff. Although Leader may take ection
under this Sertinn 9, Lender docs not kave to do sp and Ss not umber any chy or obligation to do ep. Wks agreed thet
Lender inure no ify for not fg way oral nels eas oases Cae ora da
wucnnts dsbtrsed by tarder this Section 9 shall became additions debt of Borrower secured by
tis Festreaasnt, These eancumis shall bear interest at the Note rate from the dele of disbursement and shall
be payable, with such Interest, upon notice fram Lander to Borrower requasiing payrieat,
IF this Securfly Instrument is on a leesebold, Borrower shall comply with ell die provisions of the Lease. ie
Rorrower anneires fee Hite to the Property, tha leasehold and the fee ile stall not merge unless Lender agrees to the

ie

ee Morte Iusurance. If Lender required Mortgage Insurenice as 6 condition ef making the Loan,
Borrower sttall poy the preminas required to rezintein the Mi fesormnen fn effect. If, for any reasnn, the
Morigage Inseriace coverage required by Lender ceases to be from the siorigage insurer that

retain ihese payments 2s 6 non-refundable Loss reserve in lien Yesnrance, Sash toss reserve shall be non-
refundeble, notwithstanding the fact that the Lona is ulibarately paid in acd Leader shall col bo required to pay
Borrower aay interest or earnings on such loss reserve. Lender can no Longer require loss reserve payments if
Insurance coverage (in the amount and for te portod that Lender requires) provided by an Jusarer selected
again beoomes avellable, is obteined, and Lender requires separately designated payments toward the
prominms for Mortgage Insurance, I Leader required Mostgage Insurance as 0 condition of making tre Loan and
Bonruwer was required to moke separately designated ents toward the preminens for Mortgage Insurance,
Borrower eball pay the presniunas required to maintain ¢ Insurance to effect, or ta a noe-refindubls
lost reserve, until Leader's requirement for Mortgage Insurance ends fn wocordance any wrlltes agreement
betweon Borrawee and Lender providing for suck tenntnatiow or until termination Is sequired hy Applicable Law.
Nofking in this Sectian 10 uffects Borrower's obligation to pay interest at the rats provided in the Nate.
Insurance reimburses Lender {or ony oniity thet purchases the Note) fior cnrtain losses ft may incur
if Borrower does not repay the Lowe ad agreed, Borrower $3 ant party to the Mottgege Insurance.

Mortgage insurers evelness thetr total risk oa all sack insurance te force from time to time, and may enter Into
agreements With other parties that share or modify thelr risk, or reduce losses. ‘These agreements are on terms and
eocidons tat are sstactory tothe marigaga insurer lth ost Fant nu hat (he sore Thess
agreements may require insurer to euy source the mortgage insurer

Asa seault of thaw agrocments, Lender, suy putchaser of the Note, another insurer, any reinsurer, any ether
cay, ra fio myo the Eeegnlag sy reas rely a ge seria ers
be a3) a portion of Bocrower’s payments for Mortgage Inscrance, in exchange for sharing er modilying
the mozigags tasurer's rish, or reducing losses. If such agreement provides thet an effete of Lander takes a share

 

     
 

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of the insurer's tisk in exchusige for a share of the preminms paid to the insurer, the arrangement is aften terined
reiisurance.” Porter:

@ ‘Any such agreements wi not affect the emounts that Berrower has agreed to pay for Morigege
Insurance, or any other teens of the Lovn. Guch agreements will not ineresse the amount Horrower will ows
for Insurance, end they will rot entitle Borrower tp any refucd.

{) Any auch agreements will aot affect the rights Borrower has - if any - with respect to the Mortgage
Insurance under the Homeowners Protection Act of 1856 or any other Law. Thee rights may include the right
fo receive certain disclosures, to request and obtain cancellation of the Mortgage Insurance, to have the

Insurance terminated automatically, and/or ta receive a refund of any Mortgage Inearesice premiins
that were watered at the dime of such cancelintion or termination.

21. Assigument of Miscellaneous Procesdé; Forfeiture. All Miscellaneous Procecds are hereby assignad to
and shall be paid to Lentes.

If the Properly is damaged, such Miscellaneous Proceeds shall be sppiied to restorailon er rmpair of és
Property, if the restorationt or repair ts ecomtmntcally foasdils und Lender's security is not lessened, Dosing such repalr
and restoration pirlod, Lesdar shall Brve the right to hold such Mlsvellsneous Procesds unill Leader bas had an
opportunity to inspect such Property to easure the work bis been completed to Londer's satisfaction, provided that
such tespection shall be tailestuken promptly. Lender may pey for the repairs and restoration in a single disiursement
or in a sexies of progress payments as ths work is completed. Unless en agreement is made in vetting or Applicable
Law requires interest to be pald om auch Miscellaneous Proceeds, Lender still not be required to pay Borrower any
inturest ar camingt on such Miscellaneous Proceeds, Hf the restoration or repair fs not economically feasible or
Lester's security woul bs lessened, tho Miscellaneous Proceeds shall be applied to the sums secured by this Security
Instrument, whether or not then dae, with the excers, if any, pald to Borrower. Such Miscalleneous Proceeds shall
be appited a the axter provided for tn Section 2.

Tn the evert of a total taking, dsstraction, ar loss in valve of tha Property, the Mlscellansows Proceeds shall
be applied to the sums secured by this Security Instrument, whether or not then due, with the excess, if any, paid to
Borrowes

Th the event of a partiol teking, destrastion, or foss in value of the Property in which the fair market value of
the Property Lounediataly before ths partial taking, égstracion, or loss in valite $s equal to or greater thun the amount
of the sums socured by this Socusty Instrument Immediately before the partial king, destretion, or fags in valas,
unless Boertwer and Lender othersise agree in waiting, the sums secured by this Security Instramentshall be reduced

Ge Property muti bfe to pia king, deri or as Dorowe a Lester ocr
trammedintely before the partial taking, destrention, or Ines in value, unless Borrower and Lender otherwise
agrea in writing, the Miscellaneous Proceeds shall be applied to the sums secured by thts Seearity fnstrumsant whether
or not cho sums are then diss,

IF the Propesty is abandoned by Borrower, or Ui, after notice by Leader to Borrower dial the Ojgusiag Party
{as defined tn tha next sentence) offers to make an award to seltte a claim for damunges, Borrower fails to respand to
Lender within 80 days after the date the notice 3s given, Lender ts authorized to collect and apply the Miscellaneous
Proceeds either to restoration or repalr of the Property or to Gu sums secured by this Security Instrument, wheter
o¢ not thea doe. “Oppesing Party” moans the thicd party that owes Borrower Miscellaneous Proceeds or tho party
agsinst whom Borrower Sas a ria of ecilon in regard t0 Miscellansous Proceeds.

Borroveer stall be in default if any action or proceeding, whether civil er criminal, is begun thet, in Lender's

oc rights under fits Security Instrument. Borrower can cure such a default and, if acceleration hes occurred, relastate
4s provided In Section 19, by causiag the actlon or proceeding (0 be dismissed with a ruling tint, in Lender's
Judgmont, preckates forfeiture af the Propsrty or other material tmpalsment of Leofer's interest in ike Property or
rights under this Security Insteiment, The procesds of any award or clam for damages that are attributable to the
iexpairment of Lender's interest in ths Property ere hereby enstgned acd chall be paid to Lender.

 

 

 
 

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All Miscellaneous Proceeds that are not applled to restoration or repair of the Property’shall be applied in the
order provided for in Section 2.

12. Borrower Not Released: Forbearantce By Lander Not 2 Walver. Extension of the time for payment or
modification ef amoritzation of the sims sacured by this Security Insismmect granted by Lender to Borrower or any
Successor in Interest of Borrower shal! not opsrets to release the Habiitty of Borrower os any Successors in Interest
of Bartower. Lender shall not be required to commence proceedings against any Succassor in Interest of Borrower
or to refuse to extend time for payment or olberwise modify amortization of the sums secured By this Security
Instrexnant by reannn of ary demand matte by the original Borrower or any Successors in Interes! of . Aby
forbearance by Leader in exercising any right or remedy including, without Emitation, Lender's acceptance of
payments from third persons, exillles or Successors fn interest of Borrawer or in amoutsts fess than die amonnt (hea

dup, shefl net be e welver of or prockits the exercise of any sight or remedy.

18, Jointand Several Liability; » Successors and Assigns Bound, Borrower covenauis and agrees
that Borrenver’s obligations and Habtiity shall be fofni and several. However, any Borrower who co-signs this Security
Yastriment bot dors Rot exacute the Note (a "co-signas"): (a) Is co-signing this Security Enstrument ouly to mortgage,
grant and convey (he co-cignet’s interest in the Property under the terms of ts Security Instranent: (b) is not
peroonaily obligated to pay the sams secured by this Socurfty Instremant; and (c) agress that Lender and any other
Borrower can ages to extend, modify, forbear or envke any sccommodations with regard to the terms of this Security
Tnstrement er the Note without the co-signer's consent.

Scbject to the provisions of Section 58, any Successor in Interest of Borrower wha assumes Borrower's
obligations tunder this Security Instrimeat in writing, ene! ls approved by Lender, shall obtain all of Borrower's rights

Isstroment. Borruwer shell not be released from Borrovrer's obligations and Hability
under this Scearity Instrament unless Lender agrees to stich teleese in waiting. Tho covenants and ayreoments of fhis

Testrament shell bind (except us provided in Section 20) and benefit the successors end assigns of Lender.

44, Lesn Charges, Lender may charge Borrower fees for services performed In connection with Borrower's
default, for the poxpase of protecting Lender's interest in the Property snd tights under this Security Insirament,
including, hut not Halted to, attorneys’ fees, property brspection and valzation fees. In regard to any ofher fees, the
absence of exptess anihorlty In this Security Instrument ta charge a apacific fee to Borrower shall not be construed
ase profiiicn on the changing of sach feo. Leader may not charge fees hal are expressly prolvblted by this Security
fesirinnant ar by Applicchte Law.

B dbo Lomn 15 subjout to a law which sets maxdozam loan charges, ard that law ts finally Interpreted ao that the
interest or ether lean charges collected or to be collected in connection with the Loan exceod ike permitted limits,
then: {s) any such loan charge shell be reduced by the amount necessery to reduce the charge to the permitted limit;
end (b) any sums ctready collected from Borrower which exceeded perositied Uimlts will be refiasded to Borrower.
Lender may choose to make this refined by reducing the principal owed under the Note or by muking a direct payment
to Borrower. Ho rofand reduces principal, the redaction will be treated as 8 partial prepayment without exy
prepayroent charge (whether or not « prepayreent charge is provided for under the Note). Borrower's acceptance of
cay nach ein mids by dees payee to Borer Wl consti a waiver of eny ght of etna Barower mi
sve arishis Ott

otherwise. The nolice address stall be te Property Address anloss Borrower bes dasignnted 2 substitute nates
address by aatke to Lender. Borrower shell proupily aotkiy Lender af Borrower's change of address. If Lender
specifies a procedure for reporting Burtower's chengo of ediress, then Borrower shell only repart a change of sdiress
through that specified procedure. ‘There may be only one designated notice address wader this Security Instrement
atagy one time. Any notice to Lender shalt be given by delivering it or by mulling it by first class mail to Lender's
address stated hereia wiles Lender has designated another address by notice to Borrower. Any sofice in connection
with diis Soeurity Lestrument shall not be deemed to have been gives to Lender until actaally received by Lender.
Hf any notes requised by this Secarity Instrument fs atse required ander Applicable Law, the Applicable Law
requirement will sutisfy the conespouding requirement under this Security Instremest.

Ps _
Borrewer ieditals:

PASSA TSE 1 Stngio Feriy-Fannla Msothreddie Wee USE ORY FRSTRUMENT -MERS Docktagieernine s05etP ee

 
 

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16. Law; Severability; Rules of Construction. This Sennrity Instrement shall be goverued by
foderel ew and the law of the in witch the Property is located. All rights and obligations contained in
tids Security instrament are to any requirements and Umninifions of Applicatle Law. Applicable Law might

explicitly or implictity aflow the parties to cunlract ar ft be allent, tal such sllence shall not be
cxlty or iy ae eat aeonent fy caste I, des ovens that any provisnn ar elnuve of tia Security

any

17, Berrower's Copy. Borrower abel be giver ons copy of the Note and of this Security Enstrement.

28, Transfer of the Property or o Beneficial Interest fn Horrawer. As uted In this Seciion 18, “Interest ins
the Property" wisens any legel or bonafictsl interest in the Property, including, bul not Inited to, thove beneficial
Interests transferred ine bond for deed, contract for deed, fustallment sues contract or escrow egrecment, the iotent
of which Is the transfer of ids by Borrower at « future dete to a purchaser.

Tf all or any part of the Property or any Interest In the Property is aotd or transferred (or if Borrower Is not a
marorel person ami « beneficial interest is Bormower fs sold or tremfeered) wither! Lender's prior writiea compet,
Lender ray require iremedinte payment In full of all suns scoured by this Security instrunsest. Rowever, iis option
shall nat be exoreised by Lender fanch exercise ts grotitiaed by Applicstle Law.

If Leader exercises this option, Lender shall pive Borrower nolce of axceleration. ‘The notice shall provide
a period of not fess than $0 days from the date the notice ts given in sceordance with Section 15 within which
Borrower must pay all sums secured by this Secarily Intirument. EE Borrower itils to pay Ghese sums prior to the

of this period, Lender may invoke say remedies permitted by Gis Security fnirumen! withont further
potice cr demand on Bornwer.

19, Borrower's Right to Reinstate After Avcetcration. IBorvower mosis cestaln conditions, Berrower shel!
tae the ripht to have enforcemeat of this Securlty Instroment discontinued at any tne prior to the eartiest of: (:) ive
days before sais of the Fropeny pursuant to any power of sais contained fn dls Seeurfty Instrament: {1} such otter
petiod us Appllcabis Law mlybt spenlly far the termination of Borrawer's right to reinstate; or c) eniry ofa jadgmest
enforcing this Security Insieament. Those conditions are thet Borrower: (a) pays Lender all cums whieh then would
be dus under tis Security Instraraent and the Noto ax {f no acceleration bad occurred; (b} cures ony default of any
atker covecants or agresments; (c) pays oB expenses Incumed in enforcing this Security Instrament, Including, bul
cnt fimited (0, reasnxsble ellomneys’ fees, property inspection sud valuxtion fees, and other fees fecared Bor
pexgoxe of protecting Lender's inierest in the Property and rights uniter dhis Security Eestrament; axd (4) takes such
action o3 Lender may require to ussare (hat Lender's toterest in the Propesty end rights untiar (his Security
Instrument, and Borrower's onto pay thesums secured by this Security Instrament, shall continae unchanged,
Lender may reralre thet Borrower pay such eainststement sums and expences in one or more of the following forms,
esselncted by Lender: (6) cash; (2) minnay order; (<) certified check, bank check, trenmurer's check or cashier's check,
provided any such check is drawn upon an institetion whose depasits are Lusured by « federal agency. fnstrumentality
oreskity; oF (6) Blactronic Pamis Transfer. Upon reinstatement Borrower, this Security Instrument and cbligations
secured hereby sball resunin fully effective es if no acceleration had eccurred, However, this right ¢o refesiete shall
not apply tn the case of acceleration under Seotlon 18.

20, Sale of Nate; Change of Loan Servicer; Notice of Grievance. ‘The Note or a partial interest in the Note
(ogatter with dts Security Instrasren’) can be sold owe or more thnes without prior natice to Borrower. Asalemight
result in « cheuge in tho entity (known at the “Loan Servicer”) fiat collects Pertodic Payments due wader the Note
und this Seruriky instrament and performs other mortgage loun servicing obligetions under the Note, this Security
Instument. end Apglicable Law. ‘There also be coe or more changes of che Losn Servicer unrelated to 9 sale
ofGw Note. Where isa change of the Loan , Borrower will be given written gotios of tha change which will
State the nunute and address of the new Loan Servicer, tho address to which payments should he mads and any other
faformation RESPA requires in connection with « notice of transfer of servicing. If the Note is sold end thereafler
ths Loan Is serviced by & Lous Servicer other than the purchaser of the Note, the mosigage loan sesvicing obfigetions

 

 

 
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cufified to collect all expenses iacacred in pursuing the sexedies provided in this Section 22, including, but not
Hudted to, xensonable aftornays’ foes and costs of title cvideace.
If Leader invokes tite STATUTORY POWER OF SALE, Lender shall mall a copy of a notice of cule to

Borrower, and 6 other persons puesclbed by Apcale Ln, tn the msaes Browse SY SPE A ppeaht

Leader eriuae the Property at sale, The proceeds Pine sale ahall be
Law. orits any sale, o
In the following order: to all expenses of the eats, cluding, but oot ented to, reasonuble atterneys $
€6} taal] sums secured by this Security Instrument; and (0) any excess to the parson o persons legally entitied
tott,

23, Release. Upon payment of oll sums secared by this Security Instrument, Lender shall discharge (is
Security Instrument. Borrower shail pay any recordatica costs. Lender muy change Borrower a fea for relessing this
Sacarity Instreraent, bat if the fee is pad to a third party for services rendered and the charging of the fee 1s

porenitted ander Appifcable .
28, Waivers. Borroreer welves all rights of bousestead exemplicn in tbe Progerty and velinquishes all rights
of curtesy aod dower [a the Property.

BY SIGNING BELOW, Borrower accepts end agrees to the terms end covenants contained in this Security
Jestrement ond in any Rider execeted by Borrower aad recorded with H.

 

 

 

 

 

 

(Seal)

-Borrower

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Borrower Borrower

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EXHIBIT "A"
10-00466285

THR LAND IN STOUGHTON WITH THE BULLDINGS THEREON, ON
THE NONTHEASTERLY Siva CY PARK SUREET, AND BOUNDED:

BEGINNING ON PARK STREET AT A POINT GEVENTY~FIVE (75)
FEET NORTHERLY FROM LAND NOW OR LATE OF OLD COLONY
RAILROAD COMPANY, NOW OR FORMERLY OCCUPIED BY TEE
SLOUGHTON LUMBER COMPANY, THENCE RUNNING
HORTHEASTERLY BY LAND NOW OR FORMERLY OF AUGUST O-
LINDRLO# AND EMMA J. LINDELOF BY A LING PARALLEL Writ
AND SHVENTY-FIVE (75) FEET DISTANCE FROM SAID
RALLROBD LAND ONE HUNDRED AND PIFTY (150) FEET TO A
CORNER: THENCH RUNNING NORTHERLY BY SAID AUGUST O.
BINDSLOY AND EMMA J. LINDELOY LAND BY A LINE PARALLEL
WITH PARK GTREET ONE HUNDRED AND TEN YEET TO A
CORNER; ‘THENCE RUNNING SOUTRWESTERLY BY LARD NOW oR
FORMERLY OF SAID AUGUST ©. LINDELOY AND EMMA J.
LINDELOY BY A LINE PARALLEL WITH THE FIRST COURSE ONE
HUNDRED AND PIFTY (150) FEST TO PARK STREET) THENCE
BOUTHERLY BY PARK STREET ONE HUNORED AND TEN (110)
FEET TO POINT OF BEGINNING.

ALSOr

A GERTATN PARCEL OF LAND SITDVATE IN SAID STOUGHTON,
MASS., AND BEING LOT 3 AS SHOWN ON A PLAN ENTITLED.
PPLAN OF LAND IN STOUGHTON, MASS.", DATRD JANUARY 18,
L968, DULY RECORDED, CONTAINING ACCORDING TO SAID
PLAN 7,691 SQUARE FSET.

ALSOr

A CBRTAIN PARCEL OF LAND BITUATED ON THE
NORTHEASTERLY SIDE OF PARK STREET IN SAID STOUGHTON,
MABSACHUSSTTS AND BEING DESCRIBED AS FOLLOWS:

BEGINING AT A STAKE ON THE SOUTHERLY CORNER OF LAND
OF "RUTH &. CURTIS" AND BEING SHOWN ON A PLAN
Case 1:20-cv-10800-FDS Document1-1 Filed 04/24/20 Page 16 of 60

 

 

 

", 22224 Pg 233 #35864

EXHIBIT "A*
ENTITLED "FLAN OF LAND IN STOUGHTON, MASS." DATED

JANUARY 18, 1968 AND RECORDED WITH NORFOLK DEEDS,
BOCK 4490, PAGE 69, THENCE RUNNING BY PARK STRERT AS
SUOWN ON SAID PLAN, © 20 DEGREES 54 HINUTES 13
SECONDS B, 75 FEET TO A STAKE;

THENCE TURNING AND RUNNING N 46 DEGREES 19 MINUTES 29
SECONDS € 220 FEET TO A POINT;

THENCE TURNING AT AN APPROXIMATE RIGHT ANGLE AND
RUNNING NORTHWESTERLY A DOLSTANCE OF 75 FEET, MORE OR
L899, TO A POINT AT THE NORTHEASTERLY CORNER OF
DISTANCE 75 PERT, MORE OR LESS, TO A POINT AT THE
NORTHEASTERLY CORNER OF LOT 3 SHOWN OW SAID PLAN,
SAID YOINT BEING DESIGNATED CN SAID PLAN AS °C.B,. TO
BE SET, °?

THENCE TURNING AND RUNNING BY LOT 3 AND LAND OF “RUTH
EB. CURTIS" AS SHOW! ON SAID PLAN, § 46 DEGREES 19
MINOTES 28 SECONDS W., 220 FEET TO THE POINT OF
BEOINNING.

BRING THR SAME PROPERTY CONVEYED TO BAUL JONES BY
DEED YROM BDWARP G. MATTINGLY Alp ELAINE R. MATTINGLY
RECORDED 06/21/2002 IN DEED BOOK 16766, PAGER 1, IN
{HE REGISTHY OF DEEDS PLAN FOR NORFOLK COUNTY,
MASSACHOSEITS.
LE

Case 1:20-cv-10800-FDS Document 1-1 Filed 04/24/20 Page 17 of 60

 

oo, “wh 22224 Pg 234 #35864

Min: 1002547-0640520008-3 Loan Number: 0640520008

ADJUSTABLE RATE RIDER
(6-Month LIBOR Index - Rate Caps)
{Assumable during Life of Loan) (First Business Day of Pr cading Month Lookback)

THIS ADJUSTABLE RATE RIDER is made this 2and of JUNE, 2004 *
and ts incorporated into and shall be deamed co cmand and tha Mortgege, Deed of Trust, or
Security Deed (the *Securtty Instrument”) af the same dats given by (he cnidersigned (dhe “Borrower") to
secure the Borrower's Adjustable Rate Note (fhe "Nole")to OPTIMA MORTGAGE
CORPORATION, A CALIFORNIA CORPORATION
fies "Leader" of the same dats end covering the property described in the Security Insiusaent und located et

572 PARK STREET, STOUGHTON, MASSACHUSETTS 02072
Property Adtressd

THE NOTE CONTAINS PROVESIONS ALLOWING FOR. CHANGES IN THE INTEREST
RATE AND THE MONTHLY PAYMENT. THE NOTE LIMITS THE AMOUNT THS
BORROWER'S INTEREST RATE CAN CHANGE AT ANY ONE TIME AND THE
MAXIMUM RATE THE BORROWER MUST PAY.

ADDITIONAL COVENANTS. In addition to the covenants end spreements made In the Security
Instrument, Borrower and Lender forther covesunt and agree es fellows:

A. INTEREST RATE AND MONTHLY PAYMENT CHANGES
‘The Note provides for an initial interest rate of 7,450 %, The Note provides for changes
in the interest rete and the monthly payments, as follows:

4. INTEREST RATE AND MONTHLY PAYMENT CHANGES

(A} Change Dates

‘Ths interest rate I will pay may eiange cnfla Lat dayof JULY, 2006 ,
tod may en that day every sixth month thereafter. Rack date on which my interest mis could change
b called a Dats."

(B) The ladex.

Boginning with the fire! Chauge Date, eny interest rete will be based on an Insiox. The “Index” is the
six month London Yntesbank Offered Reto (LIBOR") which fs the sverago of interbank offtxed rates for
six-rponth U.S. dollar-denominated deposits in the Londen market, as pahlisbed in Zhe. Wail Street Journal.
Tho most recent Index figure available as of tbe first business day of (he month inmediately preceding the
msonth in which the Chango Date occurs fs called the "Current Index.”

If the Index fs no longer avallable, che Note Holder will choose © new index which Is based opon
comparabte uformution. The Note Holder will give me ooftce of this choice.

| ecu

 

 

 

MMILTSTATE ADIUSTAULE RATE RIDER - 6-Month LIBOR Index Bocitagle Giaracs scoseisn:
Lite of Looxbaek> Seay, doaniagie.cnn
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"4. -22224 Pg 235 #35864

(C} Calculation of Changes
Before each Change Date, re Note Holder will calculste ary now Interest rate by siding
STX AND 950/1b00 percentage point(s) ( 6.950 *)w

the Current Index. The Note Holder will then round the result of this additinn to the nearest ene-cighth of
one percentage poict (0.12596), Subject to the limits stated tn Section 4(0) below, this rounded amount will
be my now interest rate until the next Changs Date.

y te op acta tat oa ‘ite Change Fe tll on omar date

the uspaid that T axa expected to own at on ty date at my
Deer intrest rate fa substantially equal paytcants. ‘The result of this celealaiion will bs the new amount of
my monty payment.

(D) Limits on Interest Rate Changes

The inferes! rato I am requived to pay ot the first Change Date will not be greater dian = 8. 956 %
orlessthen 6.950 %, Thereafter, my interest rate will never be increased or decreased on any aingle
Chaage Dato by more than ONE AND $00/1000 percentage point(s)
( 1.500 %) fron the rate of interest I have been paying for the preceding six months. My
intevest rate will never be greater than 14,450 %,

(E) Bifective Date of Changes
My new interest rate will become effective en each Change Date. I will pay the amount of my new
monthly paymect begianiag on the first monthly payment date after the Change Date until the wmoual of my

ny Nude hg

‘The Note Holder will deliver cr mail ty mea notice of any changes In my interest rete and the amount
of my monthly payment befhre the effective date of any chenga, The notice will inclinde infmmation required
by law to be given to me and also the tills and telephone number of 3 person who will snswer any question
IT may bave regarding the notice,

B. TRANSFER OF THE FROPERTY OR A BENEFICIAL INTEREST IN BORROWER
Section 18 of the Security Insiamant is amended to read os followes

Tennsfer of tho Property or a Beueficied Interest in Borrower. As uted in this Section 18,
"Interest In the Property” means any legat or benefictel buerest in the Property, induding, but not
Henited to, those banafictsl interests traxsferred tn « bond far decd, contract for deed, inptaliment
sales contrecl or escrow agrcomest, the intent of which Is the transfer of tile by Borrower at a
future date to & purchaser.

If afl or any part of the Property or any Interest in the Property ts sold or transitered {or if
Roxrower is nats agturdl person and a bensitetal Interest in Borrower iseold or wonsferecd} withaut
Leader's prior written consent, Lender may miquire immediate payment in full of all cams secured
by this Secusity kastrumentl. However, this optios shall not be exurclsed by Lender if such exercise
is prohibited by Applicable Law. Lender alzo shall not exercise this option if; (9) Borrower causes
to ba submited to Lender information required by Lender to evaluate the infexded transferee as ff
a new loan were being mada to the transferee; and &)) Lender rensonably determines thal Lender's
secusity will not bs bopatred by the loan assumption and that the risk of a breach of any covenaut
or agreement in this Security Instrument is acceptable to Lender.

 

 

 
 

 

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‘uk 22224 Pg 236 #35864

Te tho exten! penaited by Applicable Law, Leader may charge a reasonable ike 2s 2 condifios
to Lender's consent to the Ioan essumpéien. Lender may sls require the transferee to sign an
asormnplico agreesnant tat is soceptable to Lender and that obligates the transferee to keep all (ho
promises and agreements made in the Note and in this Security Instrument, Borrower will coniimus
to be obligated unter tke Not and this Security Inshrament unless Lender releares Borrower in

if Leader exexcises the option to require Immediate payment (ofall, Lender shall give Borrower
pollee of acceleration, ‘Phe notice shall provide a period of oot less than 30 days from the date the
notice is piven In eccordance with Section 15 within which Borrower must pay all sams secured by
ihts Seeuslty Tnstrement. If Borrower fails to pay these sums prior fo the expiration of this period,
Lender may Invoke any remadies permitted by this Seensity Instremant without further notice or
demand on Borrower.

BY SIGNING BELOW, Bosrower accepis and agrees to the terms and covenants coutained in this
Adjustable Rate Rider.

 

 

 

 

(Seal) (Seal)

PAUL 5 -Bossower -Borsower
(Saal) (Seal)

-Borrawert -Burrowar

(Seal) {Seal}

 

 
 

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“x 22224 Bg 237 #35864

PREPAYMENT RIDER

Loan Number: 0640520008
Dae: JUNE 22, 2004
Perrawer(s);: PAUL, JONES

THIS PREPAYMENT RIDER (ihe *Rider”) is made tds 22nd day of JUNE ,
2004 . anit fs Incorporated fnto and shall be deemed {o amend and supplement the
Mortgage, Dead of Trust or Security Deed (ke “Security Instroment"} of the same date given by the

f Borrower’, note “Note") in favor of
SETTER MORTGAGE CORPORATION 5 prnaiiory tte Ge

{"Lender”). Tho Security Instewusnt encumbers the Progetly more specifically described in the Security
Tnstroment and foceted at

572 PARK STREET, STOUGHTON, . MASSACRUSETTS 02072
{Peepesty Adie}

ADDITONAL COVENANTS. In addition to the coversnts and egreements made In the Security
Instroment, Borrower aad Lender further covenant and agree as inflows:

A. PREPAYMENT CHARGE
‘Ths Note provides for the payment of 2 prepayment charge 2s follows:

5 . BORROWER'S RIGHT TO PREPAY; PREPAYMENT CHARGE
T have the cight to make payments of Principal at any tle before they ere dno.
A payment of Principal only iy known «3 a “Prepayment.” When I meke s Prepayment,
F will tell the Note Holder in writing that lcm doing so. I may net designale a payment
as a Prepayment if have not made ail the monthly payments due under the Nate,
‘The Nots Holder will ose my Prepayments to reduce the amount of Priacipal (het

apply cy
aoorued and unpaid interest on the Prepayment emomt, before applying my Prepayment.
to reduce the Peincipal amount of the Note, 1 make a partial Prepaymont, there will be
no changes in the dus dates of ary monthly payment unless the Note Holder agrees in
aaa the Note peovides fur chneges tha interest pardal Prepay
in Tats, my mend may
rednoe the amount of my monthly payments after the flest Change Date following my
. However, any cedectlon dae to my partisl Prepayment may be offset
nf interest rate Increzss.

 

 

MASSAG:

Dockiagne Gitar 0060-1362
Sos ASHNTRPACO

Poge 1 of 2 ww,

ps.
 

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gh 22224 Pg 238 #35864

f mako.e full Prepayment af the Note befure tha date fixed for payment, 1 will
af the same time pay a Prepayment charge equal to the balsace of the first s interest
or thee (8) mnatis' interest, whichever Is less: provided, Dawever, He I make a full

TWENTY + FO
Prepay wil (24 ) months from the date of the Note for the purpose of
refinancing with enothes Buanctel insiltrtten, I will pay an additional Prepayment charge
equal to three (2) months’ interet.

BY SIGNING BELOW, Borrower accepts amd egroes to the terms and provisions contained in this

 

 

 

 

 

Rider,

RAUL Ji Dalene Bonewer
Tonower Fenoons
Sone Snover

 

 

 

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Case 1:20-cv-10800-FDS Document 1-1 Filed 04/24/20 Page 22 of 60

EXHIBIT 2
 

Case 1:20-cv-10800-FDS Document 1-1 Filed 04/24/20 Page 23 of 60

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EXHIBIT 3
Case 1:20-cv-10800-FDS Document 1-1 Filed 04/24/20 Page 25 of 60

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LAND en > 3 2D
DEPARTMENT OF THE aucaurr IAL OF fogess
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ief Justice
SUFFOLK o=
ss “Case No.
COMPLAINT TO FORECLOSE MORTGAGE o D oo
e :
PLAINTIFF: CityorTown | % 2»
Name of Residence o ad
Bank of New York as Trustee for the Simi Valley, CA on me,
Certificate Holders, CWABS, Inc., Asset- O6
Backed Certificates, Series 2004-7 66 MISC 333503 —< a
@
Ce
DEFENDANT: Clty or Town Interest RECEIVED AND RECORDED
Name of Residence NORFOLK C
Paul Jones Stoughton Owner REGISTRY CFDEEOS
DEDHAM, MA
CERTIFY
Fill PO Pernt
WILAM 8 O'DONNELL, REGISTER
1. - Your Plaintiff is the owner (or assignee) and holdor of a mortgage with the statutory power of sate given by

Pauli Jones

 

tOMERS, as nominee for Optima Mortgage Corporation

 

 

 

 

dated

June 22, 2004

recorded at Norfolk County Registry of Deeds Book 22224 Page 219

covering*572 Park Street, Stoughton

(street and number)
{and city or town)
(Unit No. and Condo.
Name if a Condominium)

and more particularly described in said morta age
LAND COURT USE ONLY

 

JUDGMENT
Under the provisions of the Servicemembers Civil Relief Act, this cause came on to be heard and thereupon, upon consideration thereof, it appearing to
the Court that the record owner is not entitled to the benefits of said Act, it is

ORDERED and ADJUDGED that the plaintiif be authorized and empowered to make an entry and to sell the property covered.
by the mortgage as set forth In this complaint in accordance with the powers contained in said mortgage.

Deboer) Pf—

(SEAL) JL Duloonal y. Tretuise peconoes pe

NOTE: Whenever the singular is used herein, it shalfVe GORING tO mean and include the plural where applicable.
*A metes and bounds description to the property is not necessary.

By the Court.
Attest: A TRUE copy

FORM LCB-4-(9/5)
LeP- 11-9705
Case 1:20-cv-10800-FDS Document 1-1 Filed 04/24/20 Page 26 of 60

EXHIBIT 4
Case 1:20-cv-10800-FDS Document 1-1 Filed 04/24/20 Page 27 of 60

UNITED STATES BANKRUPTCY COURT
DISTRICT OF MASSACHUSETTS
EASTERN DIVISION
In re
PAUL M. JONES

COUNTRYWLDE HOME LOANS, ILNC.
MOVANT

Chapter 13
Case No. 07-10729-JNEF

PAUL M. JONES
DEBTOR

}
}
}

v. }
}
}
}

MOTION FOR RELIEF FROM STAY

To the Honorable Joan N. Feeney, Bankruptcy Judge:

NOW COMES Countrywide Home Loans, Inc. (hereinafter “the
Movant”), by and through its attorneys, Ablitt & Charlton, P.C.,
and moves for relief from the automatic stay pursuant to 11
U.S.C. § 362 (da), Bankruptcy Rules 4001 and 9014 and MLBR 4001-1.

In support thereof, your Movant states as follows:

I. PARTIES & JURISDICTION

 

1. This Court has jurisdiction of the subject matter and
the parties pursuant to 28 U.S.c. § § 1334 and 157(a) and
157(b) (2) (G). This case is a core proceeding in accordance with
28 U.S.C. § 157 (b).

2. The Movant’s mailing address is 7105 Corporate Drive,
PTX-B-209, Plano, Texas 75024.

3. Paul M. Jones (hereinafter referred to as the “Debtor”)
has a mailing address of 572 Park Street, Stoughton,
Massachusetts 02072.

II. RELEVANT FACTS
Case 1:20-cv-10800-FDS Document 1-1 Filed 04/24/20 Page 28 of 60

4. On February 7, 2007, the Debtor filed a petition
under Chapter 13 of the United States Bankruptcy Code in the
United States Bankruptcy Court for the Eastern District of
Massachusetts.

5. The Movant is the present holder of a Mortgage on the
Debtor’s real estate in the original amount of $274,550.00 given
by Paul Jones to Mortgage Electronic Registration Systems, Inc.
as nominee for Optima Mortgage Corporation on or about June 22,
2004. Said mortgage is recorded with the Norfolk County Registry
of Deeds at Book 22224, Page 219 and encumbers the premises
located at 572 Park Street, Stoughton, Massachusetts 02072. A
copy of the mortgage is annexed hereto and marked as Exhibit ‘A’.

6. Said mortgage secures a Note given by Paul Jones to
Optima Mortgage Corporation in the original amount of
$274,550.00.

7. There is no other collateral securing the obligation.

8. As of May 11, 2007, approximately $304,800.90 is due
and owing under the terms and conditions of said Note and
Mortgage.

9, Upon information and belief, there are no other
outstanding secured encumbrances on the subject property.

10. The total amount of the secured encumbrances on the
property is approximately $304,800.90.

11. According to Schedule “D”, the fair market value (FMV)

of the subject property is $355,000.00. The liquidation value,
Case 1:20-cv-10800-FDS Document 1-1 Filed 04/24/20 Page 29 of 60

calculated at Seventy Percent (70%) of the FMV, is $248,500.00.
The liquidation value (LV) of the property, calculated by
deducting reasonable and necessary expenses from the FMV, yields

$323,821.20 and is comprised as follows:

Debtor’s Estimate of FMV: § 355,000.00
Less:
Realtors’ fees at (6) percent: 21,300.00
Tax deed stamps: 1,618.80
Anticipated closing costs: 750.00
Eviction proceedings: 710.00
Property maintenance costs: 1,000.00
Estimated foreclosure fees and costs: 5,000.00
Bankruptcy fees and costs: 800,00

 

$ 323,821.20

13. Notwithstanding the above, the Movant reserves the
righl Lo requesl access Lo the properly for Lhe purpose of
conducting an interior appraisal to more accurately quantify its
value, in the event that the value of said property is contested
by the debtor.

14. The Debtor has equity in the property.

15. The monthly mortgage payment of $3,281.47 is due on the
first of every month.

16. The Debtor has failed to remain current with the
regular post-petition mortgage payments.

17. As of May 11, 2007, the Debtor is due for one (1)
mortgage payment of $3,340.37 for the month of March 2007; two
(2) mortgage payments of $3,281.47 each for the months of April
2007 through May 2007, for a total of $6,562.94; for a total

amount of $9,903.31.
Case 1:20-cv-10800-FDS Document 1-1 Filed 04/24/20 Page 30 of 60

18. The Debtor is also due for Property Inspection fee of
$198.00; Foreclosure Attorney’s Fees of $1,125.00; Foreclosure
Costs of $4,814.30 and for Miscellaneous fees of $364.87, for a
total of $6,502.17.

19. The Movant has also incurred attorney’s fees and costs
relative to this Motion for Relief in the amount of $800.00 and
is entitled to reimbursement for those fees pursuant to its
contract and in accordance with 11 U.S.C. § 506(b).

20. The total post-petition arrearage due as of May 11,
2007, is $17,205.48 and the Movant anticipates the post-petition
arrearage by the time of the hearing will be $20,486.95.

ITI. ARGUMENT
The Movant seeks relief from the automatic stay on the
following grounds:
A. LACK OF ADEQUATE PROTECTION

11 U.S.C. § 362 (d) (1)
21. The Debtor is either unable or unwilling to offer the

 

 

Movant adequate protection in the form of regular monthly mortgage
payments, and pursuant to 11 U.S.C. § 362 ({d)(1), cause exists to
grant relief from the automatic stay on that basis.

WHEREFORE, the Movant prays that:

A. Countrywide Home Loans, Inc. and its successors and/or
assigns, be granted relief from the automatic stay for the
purpose of exercising its rights under its agreements with the
debtors and under applicable law, including, without limitation,

taking possession of the mortgaged premises and/or foreclosing or
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accepting a deed in lieu of foreclosure of its mortgage on said
premises, and bringing such actions, including, without
limitation, eviction proceedings, as are permissible by
applicable law; or,

B. In the alternative, for an Adequate Protection Order
requiring that: (1) The Debtor becomes current with the post-
petition obligations due under the Note and Mortgage, including
but not limited to, taxes and insurance, late charges and legal
fees and costs and, (2) That if the Debtor should fail to comply
with the Adequate Protection Order, that the Movant may file a
Motion, pursuant to MLBR 9013-1, with an Affidavit of Non-
Compliance, and that the Court may grant Relief from the
Automatic Stay without a hearing; and,

Cc. The Court order such other and further relief as it
deems just and proper.

Respectfully submitted,
The Movant
By its Attorneys,
ABLITT & CHARLTON, P.C.
DATED: May 17, 2007 /s/ Deirdre Cavanaugh
Deirdre Cavanaugh
(BBO 638732)
92 Montvale Avenue, Suite 2950

Stoneham, MA 02180
781-246-8995

 
Case 1:20-cv-10800-FDS Document 1-1 Filed 04/24/20 Page 32 of 60

CERTIFICATE OF SERVICE

 

I hereby certify that I have this day served a copy of the
foregoing MOTION FOR RELIEF by mailing a copy first-class, postage
prepaid or by serving electronically via CM/ECF, to the following parties
pursuant to Bankruptcy Rules 2002, 4001 and 5005 and MLBR’s 2002-1,4001-1
and 9013-3:

DATED: May 17, 2007 /s/ Deirdre Cavanaugh

 

Paul M. Jones
572 Park Street
Stoughton, MA 02072

John F. Cullen

Law Office of John F. Cullen, P.C.
17 Accord Park

Suite 103

Norwell, MA 02061

John Fitzgerald

Office of the US Trustee
10 Causeway Street
Boston, MA 02222

Carolyn Bankowski

Chapter 13 Trustee Boston
P, 0. Box 8250

Boston, MA 02114

Bay State Gas
PO Box 830012
Baltimore, MD 21283

Internal Revenue Service

c/o Eugina Gomes, BK Specialis
380 Westminster Mall
Providence, RI 02903

Internal Revenue Service
1 Montvale Avenue
Stoneham, MA 02180

MDOR

Department of Revenue
BK Unit PO Box 9564
Boston, MA 02114
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EXHIBIT 5
Case 1:20-cv-10800-FDS Document 1-1 Filed 04/24/20 Page 34 of 60

UNITED STATES BANKRUPTCY COURT
DISTRICT OF MASSACHUSETTS
EASTERN DIVISION
In re
PAUL M. JONES

BANK OF NEW YORK AS TRUSTER FOR }

THE CERTIFICATE HOLDERS, CWABS, }

INC., ASSET-BACKED CERTIFICATES, }

SERIES 2004-7, } Chapter 13

MOVANT } Case No. 07-10729-JNF
}

Vv. }
}

PAUL M. JONES }

DEBTOR }

MOTION FOR RELIEF FROM STAY
To the Honorable Joan N. Feeney, Bankruptcy Judge:

NOW COMES Bank of New York as Trustee for the Certificate
Holders, CWABS, Inc., Asset-Backed Certificates, Series 2004-7
(hereinafter “the Movant”), by and through its attorneys, Ablitt
& Charlton, P.C., and moves for relief from the automatic stay
pursuant to 11 U.S.C. § 362 (d), Bankruptcy Rules 4001 and 9014
and MLBR 4001-1. In support thereof, your Movant states as
follows:

IT. PARTIES & JURISDICTION

 

l. This Court has jurisdiction of the subject matter and
the parties pursuant to 28 U.S.C. § § 1334 and i157(a) and
157 (b) (2) (G). This case is a core proceeding in accordance with
28 U.S.C. § 157 (b).

2. The Movant’s mailing address is c/o Countrywide Home

Loans, Inc., 7105 Corporate Drive, PTX-B-209, Plano, Texas 75024.
Case 1:20-cv-10800-FDS Document 1-1 Filed 04/24/20 Page 35 of 60

3. Paul M. Jones (hereinafter referred to as the “Debtor”)
has a mailing address of 572 Park Street, Stoughton,
Massachusetts 02072.

II. RELEVANT FACTS

4, On February 7, 2007, the Debtor filed a petition
under Chapter 13 of the United States Bankruptcy Code in the
United States Bankruptcy Court for the Eastern District of
Massachusetts.

5. The Movant is the present holder of a Mortgage on the
Debtor’s real estate in the original amount of $274,550.00 given
by Paul Jones to Mortgage Electronic Registration Systems, Inc.
as nominee for Optima Mortgage Corporation on or about June 22,
2004. Said mortgage is recorded with the Norfolk County Registry
of Deeds at Book 22224, Page 219 and encumbers the premises
located at 572 Park Street, Stoughton, Massachusetts 02072. A
copy of the mortgage is annexed hereto and marked as Exhibit ‘A’.
Reference is further made to an assignment of mortgage executed
by Mortgage electronic Registration Systems, Inc. as nominee for
Optima Mortgage Corporation to the Movant dated November 20, 2006
to be recorded forthwith. A copy of the assignment of mortgage is
annexed hereto and marked as Exhibit 'B’.

6. Said mortgage secures a Note given by Paul Jones to
Optima Mortgage Corporation in the original amount of
$274,550.00.

7. There is no other collateral securing the obligation.
Case 1:20-cv-10800-FDS Document 1-1 Filed 04/24/20 Page 36 of 60

8. As of July 27, 2007, approximately $311,019.38 is due
and owing under the terms and conditions of said Note and
Mortgage.

9. Upon information and belief, there are no other
outstanding secured encumbrances on the subject property.

10. The total amount of the secured encumbrances on the
property is approximately $311,019.38.

11. According to Schedule “A”, the fair market value (FMV)
of the subject property is $335,000.00. The liquidation value
(LV) of the property, calculated by deducting reasonable and
necessary expenses from the FMV, yields $306,912.40 and is

comprised as follows:

 

Debtor’s Estimate of FMV: S$ 335,000.00
Less:
Realtors’ fees at (6) percent: 20,100.00
Tax deed stamps: 1,527.60
Anticipated closing costs: 750.00
Eviction proceedings: 710.00
Estimated foreclosure fees and costs: 5,000.00
TOTAL S 306,912.40

Paul Jones recorded a Declaration of Homestead with the

Norfolk County Registry of Deeds in Book 16982, Page 445.

13. Notwithstanding the above, the Movant reserves the
right to request access to the property for the purpose of
conducting an interior appraisal to more accurately quantify its
value, in the event that the value of said property is contested
by the Debtor.

14. The Debtor has no equity in the property.
Case 1:20-cv-10800-FDS Document 1-1 Filed 04/24/20 Page 37 of 60

15. The monthly mortgage payment of $3,281.47 is due on the
first of every month.

16. The Debtor has failed to remain current with the
regular post-petition mortgage payments.

17. As of August 3, 2007, the Debtor is due for three (3)
mortgage payments of $3,281.47 each for the months of June 2007
through August 2007, for a total of $9,844.41.

18. The Movant has also incurred attorney’s fees and costs
relative to this Motion for Relief in the amount of $800.00 and
is entitled to reimbursement for those fees pursuant to its
contract and in accordance with 11 U.S.C. § 506(b).

19. The total post-petition arrearage due as of August 3,
2007, is $10,644.41 and the Movant anticipates the post-petition
arrearage by the time of the hearing will be $13,925.88.

ITI. ARGUMENT
The Movant seeks relief from the automatic stay on the
following grounds:
A. LACK OF ADEQUATE PROTECTION

11 U.S.C. § 362 (d) (1)
20. The Debtor is either unable or unwilling to offer the

 

 

Movant adequate protection in the form of regular monthly mortgage
payments, and pursuant to 11 U.S.C. § 362 (d)(1), cause exists to

grant relief from the automatic stay on that basis.

 

 

B. DEBTOR’S LACK OF EQUITY AND THAT PROPERTY IS NOT NECESSARY
TO AN EFFECTIVE REORGANIZATION PURSUANT TO 11 U.S.C. § 362
(da) (2) (A)
and (B)
Case 1:20-cv-10800-FDS Document 1-1 Filed 04/24/20 Page 38 of 60

21. The subject property has a fair market value of
$335,000’ and an approximate liquidation value of $306,912.40.

22. The subject property is subject to the Movant’s secured
interest of $311,019.38.

23. The Debtor does not appear to have any equity in the
subject property.

24. The subject property is not necessary to an effective
reorganization.

25. Pursuant to 11 U.S.C. § 362 (d)(2) (A) and (B), cause
exists to grant relief from the automatic stay on these grounds.

WHEREFORE, the Movant prays that:

A. Bank of New York as Trustee for the Certificate
Holders, CWABS, Inc., Asset-Backed Certificates, Series 2004-7
and its successors and/or assigns, be granted relief from the
automatic stay for the purpose of exercising its rights under its
agreements with the debtors and under applicable law, including,
without limitation, taking possession of the mortgaged premises
and/or foreclosing or accepting a deed in lieu of foreclosure of
its mortgage on said premises, and bringing such actions,
including, without limitation, eviction proceedings, as are
permissible by applicable law; or,

B. In the alternative, for an Adequate Protection Order
requiring that: (1) The Debtor becomes current with the post-

petition obligations due under the Note and Mortgage, including

 

' Pursuant to Debtor’s Schedules.
Case 1:20-cv-10800-FDS Document 1-1 Filed 04/24/20 Page 39 of 60

but not limited to, taxes and insurance, late charges and legal
fees and costs and, (2) That if the Debtor should fail to comply
with the Adequate Protection Order, that the Movant may file a
Motion, pursuant to MLBR 9013-1, with an Affidavit of Non-
Compliance, and that the Court may grant Relief from the
Automatic Stay without a hearing; and,

Cc. The Court order such other and further relief as it
deems just and proper.

Respectfully submitted,

The Movant
By its Attorneys,

ABLITT & CHARLTON, P.C.

 

DATED: August 8, 2007 /s/ Rachel D. Costa
Rachel D. Costa
(BBO 657550)

92 Montvale Avenue, Suite 2950
Stoneham, MA 02180
781-246-8995
Case 1:20-cv-10800-FDS Document 1-1 Filed 04/24/20 Page 40 of 60

CERTIFICATE OF SERVICE

I hereby certify that I have this day served a copy of the
foregoing MOTION FOR RELIEF by mailing a copy first-class, postage
prepaid or by serving electronically via CM/ECF, to the following parties
pursuant to Bankruptcy Rules 2002, 4001 and 5005 and MLBR’s 2002-1, 4001-1
and 9013-3:

DATED: August 8, 2007 /s/ Rachel D. Costa
Rachel D. Costa

 

Paul M. Jones
572 Park Street
Stoughton, MA 02072

John F. Cullen

Law Office of John F. Cullen,
P.C.

17 Accord Park

Suite 103

Norwell, MA 02061

John Fitzgerald

Office of the US Trustee
10 Causeway Street
Boston, MA 02222

Carolyn Bankowski

Chapter 13 Trustee Boston
P., O. Box 8250

Boston, MA 02114

Bay State Gas
PO Box 830012
Baltimore, MD 21283

Internal Revenue Service

c/o Eugina Gomes, BK Specialis
380 Westminster Mall
Providence, RI 02903

Internal Revenue Service
1 Montvale Avenue
Stoneham, MA 02180

MDOR

Department of Revenue
BK Unit PO Box 9564
Boston, MA 02114

National Grid
Processing Center
Woburn , MA 01807-0005

Town of Stoughton Water Dept.
10 Bearl Street
Stoughton, MA 02072
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EXHIBIT 6
Case 1:20-cv-10800-FDS Document 1-1 Filed 04/24/20 Page 42 of 60

ASSIGNMENT OF MORTGAGE

KNOW ALL MEN BY THESE PRESENTS, that MERS, as nominee for Optima Mortgage Corporation, which
is organized and existing under the laws of United States of America

FOR VALUE RECEIVED, hereby grants, assigns and transfers to

Bank of New York as Trustee for the Certificate Holders, CWABS, Inc., Asset-Backed Certificates, Series 2004-
7, located in Simi Valley, CA 93065

All of the right, title, interest of said that MERS, as nominee for Optima Mortgage Corporation in and to and
under that certain Mortgage dated June 22, 2004, executed by Paul Jones and recorded with Norfolk County Q
Registry of Deeds at Book 22224, Page 219, describing the land therein as 572 Park Street, Stoughton, MA
02072, and further described in the Exhibit “A” attached hereto and made a part hereof;

TOGETHER with the Note or notes therein described or referred to, the money due and to become due thereon
with interest, and all rights accrued or to accrue under said Mortgage.

IN WITNESS WHEREOF, MERS, as nominee for Optima Mortgage Corporation has caused these presents to be

 

 

 

signed by its duly authorized officer and its corporate seal to be hereunto affixed, this day of
, 2006
IN THE PRESENCE OF: MERS, as nominee for Optima Mortgage Corporation
MELISSA FLANAGAN AMANDA FARRAR, ASSISTANT VICE PRESIDENT
TEXAS
STATE OF
County of COLLIN

On \\ | po lle before me, _ TANNh personally appeared
AMANDA FAHHAn, facisial vine CHESIDENT

personally known to me (or proved to me on the basis of
satisfactory evidence) to be the person(s) whose name(s) is/are subscribed to the within instrument and
acknowledged to me that he/she/they executed the same in his/her/their authorized capacity(ies), and that by
his/her/their signature(s) on the instrument the person(s), or the entity upon behalf of which the person(s) acted,
executed the instrument.

A my hand and official seal.

ee SIGNATURE NOTARY PUBLIC SEAL

 

i KRISTA L. EDWARDS
MY COMMISSION EXPIRES
April 20, 206:

 
   
     

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Case 1:20-cv-10800-FDS Document 1-1 Filed 04/24/20 Page 43 of 60

EXHIBIT 7
Case 1:20-cv-10800-FDS Document1-1 Filed 04/24/20

WHEN RECORDED MAB. TO:

OFTINA MORTGAGE CORPORATION
15941 REDHILL AVENUS SUITE #100
TUSTIN, CALIFORNIA 92780

ATTN: QUALITY CONTROL

Loan Number: 0640520008
Servicing Number:

 

Page 44 of 60

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Assignment of Mortgage

FOR VALUE RECEIVED, the undersigned

Branls, assigas and Granslers fa COUNTRYWIDE DOCUMENT

hereby
CUSTODY SERVICES, A DIVISION OF TREASURY BANK, N.A., 1800 TAFO CANYON RD.,

SIMI VALLEY, CA 93063

all beneficial interest ander that certain Mortgage daied JUNE 22, 2004

PAUL JONES

and recorded as Insfrumeat No.

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MASSACHUSETTS
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» Gf Official Records tn thr County Recorder's affice ef NORFOLK.

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SEE LEGAL DESCRIPTION ATTACHEN HERETO AND MADE A PART HEREOF AS EXHIBIT

Commonly known as: 572 PARK STREET, STOUGHTON, MASSACHUSETTS 02072

Assessor's Parcel 4: MAP 70 MAP 42

TOGETHER wilh the cote of notes theruln descrited or referred to, the money due and to become due therean With Intaresi,

and all rights acersed or (o accrue under sald Mortgage,

OPTIMA MORTGAGE CORPORATION, A CALIFORNIA CORPORATION

 

 

 

 

 

 

By: By:
Name: Name:
Title; Tithe:
Attest Allest
STATE OF MASSACHUSETTS
COUNTY OF NORFOLK SS,

On before me,
personally appeared

 

personally known ¢o me {or proved to me on the basis of
salisfactory ovidence) to be the person(s) whose names)

Isfere subscribed to Ute within Instrument and acknowledged -
to me (hat he/she/ihuy executed tha same tn his/herfihetr
sulhorized capacity(tes), and that byhis/her/ibetr stenatara(s)

cn tha fnsxtrument the person(s) or the enifty upon behalf of
which the person(s) acted, exeented the [nstrument.

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Slenature

 

 

Name {Typed or Printed}
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(This rea For Corporate Seal)

(This area for offictal notartal seal)

USMSOMM: GUI-G-94}
Case 1:20-cv-10800-FDS Document 1-1 Filed 04/24/20 Page 45 of 60

WHEN RECORDED MAIL TO:

OPTIMA MOPRTEAGE
CORPORATION

15941 REDHILL AVENUE
SUITS #100

TUSTIN, CALIFORNIA

0649520008

 

[Space Above This Una For Rocording Date}

ASSIGNMENT OF MORTGAGE

FORVALUB RECEIVED, MORTGAGE ELECTRONIC REGISTRATION SYSTEMS, INC. :

(SMERS") AS NOMINEE FOR OPTIMA MORTGAGES COREFORATION ITS SUCCESSORS AND
ASSIGNS, HEREBY ASSIGN AND TRANSFER TO :

ALG ITS RIGHT, TITLE AND INTEREST IN. AND TO A CERTAIN MORTGAGE
EXECUTED BY PAUL JONES :

 

and bearing the date of the :

and recorded 2s Instrument No. concurrently horevwil on :

in boak « Page _ GE GElictal Recands io the Caunty Recanter's affica of
MASSACHUSETTS - County, NORFOLK , deceribing land (herein as:

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A.P.N. #: MAP 70 MAP 42

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TOGETHER with the nota or notes therein desesthed or referved to, the money due and to become due thereon with Interest,

 

 

 

 

 

 

 

 

 

 

 

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WeGeaaey SYSTEMS, INC.

By: By:

Name: Name:

Tite: Tile:

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Signatara

 

 

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Notary Pubilc In for satd State

 

 

 

Min: LOQSAT-O620820008-3 MERS Phone: LaIRGIBT1

 

 

ASSIGNMENT OF MORTGAGE . DocMegic Gian moce-1782
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Case 1:20-cv-10800-FDS Document 1-1 Filed 04/24/20 Page 46 of 60

EXHIBIT 8
Case 1:20-cv-10800-FDS Document 1-1 Filed 04/24/20 Page 47 of 60

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ASSIGNMENT OF MORTGAGE

KNOW ALL MEN BY THESE PRESENTS, that MERS, as nominee for Optima Mortgage Corporation, which —
is organized and existing under the laws of United States of America

FOR VALUE RECEIVED, hereby grants, assigns and transfers to

Bank of New York as Trustee for the Certificate Holders, CWABS, Inc., Asset-Backed Certificates, Series
2004-7, located in Simi Valley, CA 93065

All of the right, title, interest of said that MERS, as nominee for Optima Mortgage Corporation in and to and
under that certain Mortgage dated June 22, 2004, executed by Paul Jones and recorded with Norfolk County ()
Registry of Deeds at Book 22224, Page 219, describing the land therein as 572 Park Street, Stoughton, MA.
02072, nnd further described in the Exhibit “A" attached hereto and made a part hereof;

TOGETHER with the Note or notes therein described or referred to, the money due and to become due thereon
with interest, and all rights accrued or to accrue under said Mortgage.

IN WITNESS WEHEREOF, MERS, as nominee for Optima Mortgage Corporation has caused these presents to be
signed by its duly authorized officer and its corporate seal to be hereunto affixed, this 10th day of October, 2006.

IN THE PRESENCE OF: MERS, as nominee for Optima Mortgage Corporation "sume
TET Fey

A i <n *
thls Nid ogo Hig ale Sh
Qu Meyer T Skate, Neil! Geeretary, Ral, oo o's

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eg etecarin '

 

STATE OF “T2yas
County of Copesar

ol- “ —ey
On Pues before me, Lr Sa'cle personally appeared
‘ personally known to me (or proved to me on the basis of
satisfactory evidence) to be the person(s) whose name(s) is/are subscribed lo the within instrument and
acknowledged to me that he/she/they executed the same in his/her/their authorized capacity(ies), and that by
his/her/their signature(s) on the instrument the person(s), or the entity upon behalf af which the person(s) acted,
executed the instrument RECEIVED AND RECORDED
NORFOLK COUNTY
. . REGISTRY OF DEEDS
WITNESS my hand and official seal. c DEDHAM, MA
Filler PO'ParrLth
WILLJAM P O'DONNELL, REGISTER

 

 
   
    

SANDRA J ROBINSON
My Commission Expires
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EXHIBIT 9
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Case 1:20-cv-10800-FDS Document 1-1 Filed 04/24/20 Page 49 of 60
>
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A Division of THE SKILL BUREAU

  

CERTIFICATE

I, Julia Suggs, do hereby certify the following 34 pages to be a
true and accurate transcription. Prepared under my direction in
the Tape Transcription Center to the best of our abilities, the
document comprises a tape provided to us by Mr. Paul Jones. The
tape is labeled “Bank of New York v. Paul Jones” and consists of
three hearings in the Stoughton Distric Court in the case of
Bank of New York v. Paul Jones on March 13, 2008, July 31, 2008,
and August 11, 2008, under docket numbers 20088017, 20085U118,
and 2008Ss048.

olalo¥ hb Fuse
Date /sulia suggs /U

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Case 1:20-cv-10800-FDS Document 1-1 Filed 04/24/20 Page 50 of 60
Bank of New York v Paul Jones, 3/13/2008 PAGE 1

Stoughton District Court, Docket #200855SU17

And we have Bank of New York versus Paul Jones.

_3 Good morning, Your Honor.

a: Good morning.

CULLEN: Good morning, Your Honor. John F. Cullen for the
defendant.

J: I'm sorry. What's your name again, Counsel.

CULLEN: Cullen. C-Q-L-L-E-N, John F.

J: All right.

CULLEN: Your Honor, I've spoken with counsel outside and I'm
making a motion to dismiss the case on several grounds
(inaudible). My brother was not given by his client my
answer or the case law. This is the second time this case
has been here in 90 days. The first time --

J: Excuse me,

CULLEN: =- the case was dismissed by the cou -- by the court.
Excuse me. You all set?

J: Um-hmm.

CULLEN: OK.

J: Yes.

CULLEN: It was dismissed by the court and the court allowed
counsel for the -- for the plaintiff at that point of time
to withdraw his appearance to avoid sanctions because of a
failure to follow the Rules of Civil Procedure in the

following case and not properly recording the -- the
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Bank of New York v Paul Jones, 3/13/2008 PAGE 2

Stoughton District Court, Docket #200855SU17

foreclosure deed. Now, in this case, we're in it the
second time, yet the statute 18 -- Mass General Laws
Chapter 181(6), the 14-day notice to quit was never served
in this case. Secondly, on February 9°", and as my answer
indicates, the plaintiff served on the defendant the
complaint for eviction. On the 25'" of February, the
plaintiff then recorded a foreclosure deed. OK. This is
seven months after the foreclosure sale. Now, between the
19° and the 25°", the defendant had no opportunity to
respond or to ask questions as to why he was being sued
because the plaintiff had to file with the court. They
didn't file the complaint with the court until March 3°.
Between March 19°" and March 3**, there was no --

J: You mean February 19°?

CULLEN: February 19° to March 3**,

J: 19% to March 374?

CULLEN: Yes.

J: OK.

CULLEN: So there's no complaint. So on those grounds, it has
to be dismissed as a matter of law under Rule 11 and 12 of
Massachusetts Rules of Procedure -- Civil Procedure. They
once again failed to comply with the rules. They've been
warned the last time by this court, if they failed to

follow the rules, common law sanctions would be sanctioned
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Bank of New York v Paul Jones, 3/13/2008 PAGE 3

Stoughton District Court, Docket #2008558017

against them for their conduct of not following the rules
and not protecting the interest of the defendant and the
due process right.

J: Counsel?

Ml: If Your Honor please, I'm -- I was not aware of all these
facts until counsel (inaudible) paper. I was covering the
Matter with outside counsel. It is -- it i8 --

J: And you're not happy that you're doing it right now?

Ml: No, not at all, Your Honor, I've represented these --
this firm before and this is the first time I've been ina
situation like this, in all honest, Your Honor. This
appears to rise out of a foreclosure action, as far as lI
know, as far as you and I can see. And that's based on ——
I'm not going to object to my brother's dismissal.

J: OK.

Ml: Obviously on the basis of what he filed or obviously want
the office to have -- get these copies, which they may
have, I'm not sure, and have a chance to review it and
deal with it at their end.

CULLEN: Your Honor, this -- this was marked down for a trial
by the court for a particular reason. That it involved a
(inaudible) complaint, they would mark it down for trial.
But the reason is that there are no witnesses. They're

unable to show that in fact they are the holder of a
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Case 1:20-cv-10800-FDS Document 1-1 Filed 04/24/20 Page 53 of 60

Bank of New York v Paul Jones, 3/13/2008 PAGE 4

Stoughton District Court, Docket #200855SU17

J:

(inaudible) mortgage. This came up the first time and

' that's why the counsel who was representing the moving

party at that time withdrew, They have no evidence
whatsoever. Not one scintilla of evidence that, in fact,
that they own the mortgage and there was a rightful
foreclosure sale. But putting that aside, the is -- the
(inaudible) complaint has to he dismissed as a matter of
law. The question is whether the court will -- as the
court suggested before, impose certain conditions if a
second complaint or a third complaint is filed. In other
words, case law from the court of appeals going way back
to 1919, with reference to the subsequent case...

So I've never seen one like this where the --

CULLEN: Well, it's interesting. I talked with the clerk's

office because I was going to call them as a witness if we
went to trial, OK. And the clerk's office tells me the
consistent policy with this clerk's office is that the
moving party types out the complaint, OK, and then comes
in, files it on the date that they decided, OK. So that
then the ten-day period begins to commence. No one has
ever seen a complaint where the defendant in this case has
been served prior to filing his complaint.

Right. And that's what -~- that's what's really unusual

about it.
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CULLEN: Well, I think ww JT think, Your Honor, to == to

explain it, there have been a series of missteps by this
firm all the way through this case, including the
foreclosure. Now, this is a -- now, this is another one
that (inaudible) this plaintiff and they can't proceed
because they don't have the mortgage. They -- they've
alleged at the beginning, when the court asked them,
"Where's the mortgage?" "T don't know. We don’t have it."
Well, you can't proceed with a foreclosure action -- and I
-~ I told them at the foreclosure sale that Lhey had no
right to move. That's a separate action, a distinct civil
procedure action against the New York Bank and the law
firm. The only thing that's before it is the eviction.
Now, the question that I raise is the question of whether
the court will impose common law sanctions based on the
fact that this is -- this is absolutely outrageous conduct
to come into a court, file a complaint, and then secondly
not explain to the court... It's actually, as you know,
there's a mandatory (inaudible) to the court. This is a
false statement to the judicial panel, which is in fact a
misdemeanor. And also with sanctionable -- sanctionable
under the bar -- BBO. In -- unfortunately, my brother is
in front of the situate -- what they do is they find some

attorney that they call on the phone who knows nothing
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about the case, the second time, and they say that I'm

here only (inaudible).

J: Do you have a written motion, Counsel, for a motion to
dismiss?

CULLEN: I -- I don't.

J: Or just the answer here?

CULLEN: I have the answer. I can turn the caption of the --

of the answer into a motion to dismiss based on the facts
contained in the answer.

J: Well -- no. You ask here in the -~ where the defendant
Pays that the judgment of dismissal be entered.

CULLEN: That's right. I -- I left it in the end. Yeah.

J: Yeah. All right. Matter will be dismissed.

CULLEN: The question is whether the court will consider
dismissing with prejudice (inaudible).

J: Well, that's what I want -- I want to read over all the --
the paperwork for this. Definitely going to be dismissed.
If you give me a moment, I just want to read your answer
thoroughly.

CULLEN: Thank you.

J: Give mé one moment. You also reiy on the 14-day notice
from back in December.

CULLEN: Yeah. They can't do it --

J: You can't do that.
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CULLEN: (inaudible) can't do it in the other case. The
Appeals Court has clearly indicated -- we're -- if there
was a second -- if two cases were pending, then there were
changed circumstances. The Court of Appeals says under
the changed circumstances rule, you still have to commence
your 181(6) procedure regardless of what's happened in the
past.

co: Um-hmm. The motion will be allowed. Let's see. Madame
Clerk, do we have the form for motions as opposed to
findings?

CLERK: We have a motion form that the judge (inaudible). I
mean ~~

J; No, the --

CLERK: No.

J: You had -- I had one in the other one. It was -- this is
the finding of the court with regard to the trial, which
we have not had.

CLERK: Right.

J: But I want --

CLERK: Because of those motions (inaudible).

CULLEN: (inaudibie) interesting question that you raise. I5
a question -- it was marked down for trial.

J: I know.
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CULLEN: And therefore, they -~- the plaintiff -- the moving

ML:

party presentcd no witnesses, has no evidence at all, so
the -- there is two compounding factors. It was whether,
in fact, this complaint should be dismissed or judgment
should be rendered for the defendant.

Oh, that's a very interesting question, because it is
marked for trial. I have a findings sheet here. [I have a
complaint before me. We can call the case for trial. I
don't know if counsel -- what counsel wishes to do. But I
think we're putting counsel in an awkward position.

If Your Honor pleases, the only documentation that I have
other than some copies of the complaint is a copy of the
foreclosure deed. And then -- I do not have the recording
information on it. (inaudible) ascertainable and the only
comment I could make on that is that the title can't rest
in limbo. When a foreclosure sale is held, the title does
pass at that point in time. With all due respect to my
brother, I think there's -- in terms of the (inaudible) of
foreclosure, I think it has to be done at that time, not
after the fact. But that's the only documentation I have
that -- at least to that end of it. I can't speak as to

the eviction itself.

CULLEN; Your Honor, that's not a relevant issue with

(inaudible). In fact, the legislature's already dealt
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with that issue and I'm not going to get into it. The
question is it was a trial set by the court. He has no
evidence. There is not evidence that he can present
anything to be said to the court that's not evidence and
it can't be taken as evidence or construed as evidence.
So therefore, not having evidence, I ask that the ju <- I
ask that the court enter a judgment for the defendant, or

in the alternative, dismiss the case with prejudice.

J: Counsel?
M1: Your Honor, I -- again, I have no additional evidence.
Js OK.

Ml: (inaudible) situation.

J: Matter will be dismissed with prejudice. Madame Clerk, do
you have that -- in the other case, there was a form.

CLERK: It was a motion form.

dg: Um... You had it in --

CLERK: I -~ I don't have it here because this was the
appeal,

J: (inaudible). I'll write it over here.

CLERK: (inaudible) go down and get you one.

Js (inaudible). We have one -~ we have one case left. This

one here. I'm finishing up this one, right. This one.

OK. i

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4,

J: OK. Oh, oh.
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Your Honor (inaudible).
J; No. You're not understanding, Madame Clerk. In the other
file, there was a form, a court form, that says motion and

it allows me to write my findings, allowed or denied.

CLERK: OK. That -- we don't put that in the summary
process.

J: There was one in the other summary process that 1 just
had.

CLERK: Oh. You knew, it probably was just by accident. But

I see what you're saying.
J: OK.
CLERK: You don't (inaudible).

J: No, 1'1ll write it on this. All right, thank you.

CLERK: OK.

CULLEN: Your Honor, may I address the court?

J: Yes.

CULLEN: The issue of -- thé issue that's raised and [I'll give

you the case, you can read it. There’s a question now --
at this particular point in time, res judicata applies
under the Court of Appeals decision. And they can't bring
forward another complaint unless they can show changed
(inaudible).

J: Correct.
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CULLEN: OK. So I just want to make it clear to counsel that
the -- the one before, for the record, that res judicata
could become an issue under the (inaudible) case. The
court (inaudible) indicated, we want this (inaudible).

Ji I definitely would like to take a look at the case.

CULLEN: Your Honor, it's the paragraph that is circled from
below.

J: Actually, you know what? What I think I'll do is T think
I may write out-.a finding and have the court type it up
and send it out to the parties. But it will be -~- the
motion to dis -- the oral motion to dismiss will be
allowed with prejudice and I will have a written finding
sent out to the court -~ to Lhe parties.

CULLEN: Your Honor, there are two cases (inaudible) and we'd
like the second case, Your Honor. I will give it to you.
It's a 1913 case with (inaudible) referenced (inaudible).

J: OK. Fine. Thank you.

CULLEN: Madame Clerk. All right. Matter will be dismissed
with prejudice and a written decision will be forthcoming.

CULLEN: Thank you, Your Honor.

END OF HEARING
